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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


     In Re: COOK MEDICAL, INC., IVC                  )
     FILTERS MARKETING, SALES                        )      1:14-ml-02570-RLY-TAB
     PRACTICES AND PRODUCT                           )      MDL No. 2570
     LIABILITY LITIGATION                            )
     ___________________________________             )

     This Document Relates to: All Actions
     ________________________________________



    ORDER ON THE COOK DEFENDANTS’ MOTION FOR SCREENING ORDER
                  AND BELLWETHER SELECTION PLAN

          The Cook Defendants move for a screening order to ensure pending and future

   filed cases allege a cognizable injury and for a plan to select additional cases as

   bellwethers for trial. The court heard oral argument from the parties on September 20,

   2018, and finds the Cook Defendants’ Motion for Screening Order and Bellwether

   Selection Plan (Filing No. 8449) should be GRANTED in part.

          Cook’s Motion for Screening Order is GRANTED in part. The cases filed in this

   MDL are classified as follows:

       Category 1 – Successful First Removal Without Complication or Physical

          Injury Cases:

          Cases where the Plaintiffs’ profile sheet and further follow-up shows that

          the Gunther Tulip or Celect IVC filter was successfully removed on the

          first, routine, percutaneous retrieval attempt and no physical symptom or



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         filter complication was alleged during the time the filter was in place or in

         connection with the retrieval process.

       Category 2 – Cases Alleging Mental Distress and Embedment: Cases where

         only non-physical injuries, such as worry, stress, or fear of future injury,

         have been alleged.

       Category 3 – Stenosis of the IVC and Anticoagulation Cases: (a) Cases

         where the plaintiff has alleged scarring or stenosis of the IVC caused by the

         Cook IVC filter; and (b) Cases where the Plaintiff has alleged a need for

         coagulation on a permanent or long term basis because of an unretrieved or

         irretrievable filter.

       Category 4- Embedded and High Risk Cases: Cases where the Plaintiff has

         been advised that the Cook IVC filter is embedded, cannot be retrieved, or

         that the risk of retrieval outweighs the benefits of retrieval.

       Category 5 – Failed Retrieval and Complicated Retrieval Cases: (a) Cases

         where the plaintiff has undergone one or more failed retrieval procedures;

         and (b) Cases where the Plaintiff’s filter was retrieved but required the use

         of a non-routine, complicated retrieval method.

       Category 6 -- Non-Symptomatic Injury Cases: (a) Cases where the Plaintiff

         alleges non-symptomatic filter movement, migration, penetration,

         perforation, thrombosis, occlusion or the presence of a clot in the filter that

         has not produced physical symptoms or complications.


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       Category 7 – Symptomatic Injury Cases: Cases where the Plaintiff alleges

          medical symptoms, conditions or complications caused by one or more of

          the following conditions: (a) IVC thrombotic occlusion – consisting of an

          occluding thrombus in the IVC after filter insertion (documented by

          imaging or autopsy); (b) filter embolization – consisting of post-

          deployment movement of the filter to a distant anatomic site; (c) filter

          fracture – consisting of any loss of a filters structural integrity documented

          by imaging or autopsy; (d) filter migration – consisting of a change in filter

          position of more than 2 cm (when compared with its deployed position) and

          as documented by imaging; (e) penetration or perforation – consisting of a

          filter strut or anchor extending 3 or more mm outside the wall of the IVC as

          demonstrated on imaging; (f) recurrent pulmonary embolism (PE) –

          consisting of PE that occurs after filter placement and is documented by

          pulmonary arteriography, cross sectional imaging, lung scan, or autopsy;

          (g) DVT or other blood clot caused by the filter; (h) infection; (i) bleed and

          (j) death.

          Cook’s Motion for Bellwether Selection Plan is GRANTED in part. The Plan

   consists of the following steps:

          1.     In order to ensure cases are properly categorized, Plaintiffs certify the

   respective outcomes, complications, and injuries claimed by submitting a specific

   medical record evidencing the claimed complications, outcomes, and injuries.



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          2.      Using the information provided by Plaintiffs, Cook will prepare a census

   for the court of all cases in the MDL and whether they are Category 1, 2, 3, 4, 5, 6, or 7.

          3.      Cases in Category 11 are subject to immediate dismissal.

          5.      The court will use random selection to identify 24 cases from Categories 5

   and 6 for the Bellwether Pool: 16 Tulip and 8 Celect.

          6.      The parties will exchange all medical records in their respective possession

   for the randomly selected cases and study those cases. Each party shall strike 4 Tulip and

   2 Celect cases.

          7.      The parties will then submit short briefing on the bellwether

   appropriateness of the remaining dozen PIP cases (8 Tulip and 4 Celect).

          8.      The court will select three representative cases2 as the next bellwethers: a

   Tulip trial, then a Celect trial, and finally another Tulip trial.

          The parties should be prepared to discuss workable deadlines for steps 1 and 2 at

   the next status conference.

   SO ORDERED this 2nd day of October 2018.




   Distributed Electronically to Registered Counsel of Record.



   1
     Cases in Categories 2, 3, 4, and 7 remain for motion practice or trial.
   2
     After further reflection, the court finds multi-Plaintiff bellwethers run the risk of confusing the
   jury and of significantly increasing the length of trials.
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